Case 14-02046   Doc 85   Filed 08/24/18 Entered 08/24/18 15:30:39   Desc Main
                           Document     Page 1 of 2
  Case 14-02046       Doc 85      Filed 08/24/18 Entered 08/24/18 15:30:39            Desc Main
                                    Document     Page 2 of 2


opportunity having been afforded to litigate all issues raised in all objections, or which might have

been raised, and all objections having been fully and fairly litigated;

       IT IS HEREBY FOUND AND DETERMINED THAT:

   The release of claims against the debtor, Charlie Smith (“Smith”) by Pacific for no additional

payment than that received by Pacific in the state matter of Pacific Insurance Limited, A Subsidiary

of the Hartford Financial Services Group A/S/O Peter Pan Bus Lines Trust v. T.J. Morelli-Wolfe

et al., HHD-CV15-6062580-S

       a) a full litigation of the Claims resolved by the settlement agreement would be extremely

           complex, protracted and expensive and would significantly delay the Trustees ability

           to make any distributions from the Smith Estate to creditors;

       b) the settlement agreement is in the best interests of the Smith estate and its creditors;

       c) the Smith estate creditors will not be prejudiced in any way by this settlement

       NOW THEREFORE, IT IS HEREBY ORDERED THAT:

   The Motion is granted in all respects and that the settlement agreement is authorized and

approved pursuant to Rule 9019 of the Federal Rules of Bankruptcy Procedure.


                                    Dated at Hartford, Connecticut this 24th day of August, 2018.
